       Case 2:09-mc-00239-JFC Document 13 Filed 06/18/18 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                           )
IN RE: PACER FEE EXEMPTIONS                                )
                                                           )
                                             )                   Misc. No. 09-239
Yanbai Andrea Wang (PACER Account 5554355)   )
                                     Movant. )
_____________ )
                                        ORDER

       This matter is before the court upon the application and request by Yanbai Andrea

Wang, PhD, J.D. ("Ms. Wang") for exemption from the fees imposed by the Electronic

Public Access fee schedule adopted by the Judicial Conference of the United States

Courts (ECF No. 10).

       This court finds that Ms. Wang is an individual researcher associated with an

educational institution and, therefore, falls within the class of users listed in the fee

schedule as being eligible for a fee exemption. Additionally, Ms. Wang demonstrated

that an exemption is necessary in order to avoid unreasonable burdens and to promote

public access to information.

      Accordingly, Ms. Wang (PACER Account 5554355) shall be exempt from the

payment of fees for access via the Public Access to Court Electronic Records system (the

"PACER System") to the electronic case files maintained by this court, to the extent such

use is incurred in the course of the academic research project described in the Application

for Multi-Court Exemption from the Judicial Conference' s Electronic Public Access Fees

in the United States District Court for the Western District of Pennsylvania (the
       Case 2:09-mc-00239-JFC Document 13 Filed 06/18/18 Page 2 of 3



"Application") (ECF No. 10). Ms. Wang shall not be exempt from the payment of fees

incurred in connection with other uses of the PACER System in this court. Additionally,

the following limitations apply:

      1) This fee exemption applies only to Ms. Wang and is valid only for the

         academic research project described in the Application;

      2) This fee exemption applies only to the electronic case files of this court

         that are available through the PACER System;

      3) By accepting this exemption, Ms. Wang agrees not to sell for profit any

         data obtained as a result of receiving this exemption;

      4) Ms. Wang is prohibited from transferring any data obtained as a result of

         receiving this exemption, including redistribution via Internet based

         databases. This prohibition does not prevent Ms. Wang from relying upon

         the data obtained as a result of receiving this exemption in or in connection

         with the scholarly project described in the Application;

      5) This exemption is valid for twelve months from the date of this Order,

         which time period may be extended upon request made to the court at this

         docket number by Ms. Wang.

      This exemption may be revoked at the discretion of the Court at any time. The

Clerk of Court of the United States District Court for the Western District of




                                             2
          Case 2:09-mc-00239-JFC Document 13 Filed 06/18/18 Page 3 of 3
,   .

    Pennsylvania, or his designee, may periodically review the usage of Ms. Wang's exempt

    PACER System account during the term of this exemption.


    Dated: Jun e 18 , 2018


                                                         Joy Flowers Con 1
                                                         Chief U.S. Distri t udge



    cc:   PACER Service Center (via email)
          Yanbai Andrea Wang, PhD, J.D. (via email)




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